                                    UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL.                               *       CIVIL ACTION NO. 21-80

VERSUS                                          *       SECTION “D” (2)

SHERIFF JOSEPH P, LOPINTO,                      *       Judge Wendy B. Vitter
III, ET AL.                                             Magistrate Judge Donna P. Currault

             Plaintiffs’ Memorandum in Support of Motion for Spoliation Sanctions
                                           I.   Introduction

         The Jefferson Parish Sheriff’s Office has a policy of destroying “all disciplinary records”

after three years.1 The law requires that parties cease such destruction of records once they

reasonably anticipate litigation.

         In this case, JPSO did not stop destroying disciplinary records for almost a year, even

though (1) JPSO received an anti-spoliation letter, (2) JPSO told a judge that the “obligation of

preservation is already in place”; and (3) JPSO received a court order requiring the preservation

of records. In this motion, Plaintiff ask this Court for a spoliation remedy due to JPSO’s choice to

continue destroying disciplinary records despite the multiple, overlapping legal prohibitions

against that continued destruction.

         Brief background: on January 19, 2020, a group of JPSO deputies restrained E.P., a

severely autistic child, face-down on the asphalt of a parking lot. The child died.

         On January 25, 2020, counsel for E.P.’s parents sent an anti-spoliation letter to JPSO. The

letter warned JPSO that it could “reasonably foresee litigation” regarding the death of E.P.2

         In addition to the letter, E.P.’s parents also filed motions in the 24th and 29th Judicial

District Courts asking that evidence relating to E.P.’s death be preserved. The motion in the 24th

JDC particularly requested preservation of officer disciplinary records.3 On January 27, 2020, a


1
  Ex. A (JPSO SOP 22) at 9.
2
  Ex. A (Anti-Spoliation Letter).
3
  Ex. L at 3.
                                                    1
judge of the 29th JDC ordered that “all documents relevant or related to the death of the minor

E.P. shall be preserved and not destroyed or otherwise altered . . . “ 4 On March 17, 2020, JPSO

represented to the 24th JDC that a further preservation order was unnecessary because the

“obligation of preservation is already in place.”5

         But despite all this, JPSO did not stop the destruction of officer disciplinary records. It was

not until nearly a year later – after the January 2021 filing of this lawsuit – that JPSO began

preserving disciplinary records.

         As a result, an unknown number of disciplinary records were destroyed in the year between

January 2020 and January 2021. The number is unknown because JPSO keeps no records of

document destruction, even though such records of document destruction is explicitly required by

state law.6 And Plaintiffs have not been able to seek information about disciplinary history via

other means, as JPSO’s counsel instructed witnesses not to answer questions about their

disciplinary history.

         Because JPSO has violated (1) an explicit court order, (2) state law regarding document

preservation, and (3) federal law regarding a party’s obligation to preserve evidence when

litigation is reasonably anticipated, Plaintiffs’ spoliation motion should be granted.

                                         II.       Factual Background

         On January 19, 2020, E.P. died in the custody of JPSO deputies.7

         On January 25, 2020, counsel for E.P.’s parents sent an anti-spoliation Letter to JPSO.

The letter warned JPSO that it could “reasonably foresee litigation” regarding the death of E.P.8




4
  Ex. H (Feb. 6, 2020 Order).
5
  Ex. M (Opposition to Motion for Protection and Preservation) at 3.
6
  La. Admin. Code tit. 4, § XVII-913 (“Agencies shall document the destruction of their records by maintaining a
certificate of destruction . . .”).
7
  R. Doc. 9 at pg. 3, admitting ¶ 1 of the complaint that E.P. died “while in the custody and care of deputies with the
Jefferson Parish Sheriff’s Office (JPSO).”
8
  Ex. A (Anti-Spoliation Letter).
                                                           2
The letter specifically advised that “[a]ny normal process of document destruction or overwriting

must cease.”9 The letter addressed “[a]ll paper records” and “other evidence.”10

         On January 27, 2020, E.P.’s parents filed a Motion for Protection and Preservation in the

29th Judicial District Court (St. Charles Parish), asking that a search warrant for E.P.’s school

records be quashed and all evidence be preserved. The matter was captioned In Re JPSO Item

No. A-15489-2011, and JPSO appeared in the matter.12

         Later that day, a judge of the 29th Judicial District ordered that “all documents relevant

or related to the death of the minor E.P. shall be preserved and not destroyed or otherwise altered

. . . “13 JPSO’s counsel – both in-house and litigation counsel - were provided copies of that

order the same day.14 The 29th JDC later denied E.P.’s parents’ motion. At no point did the 29th

JDC order that document destruction could resume.

         On January 29, 2020, JPSO’s counsel confirmed that they had received E.P.’s parents’

anti-spoliation letter.15

         On March 5, 2020, E.P.’s parents filed a Motion for Protection and Preservation in the

24th Judicial District Court (Jefferson Parish).16 That motion specifically requested preservation

of all “disciplinary, complaint, investigative and personnel files of all officers and supervisors of

Jefferson Parish Sheriff’s Office involved in this incident.”17 The motion was served on JPSO on

March 10, 2020.18

         On March 17, 2020, JPSO filed an opposition to that motion. JPSO argued that an order

of preservation was unnecessary because JPSO had “acknowledged its receipt of the anti-


9
  Id.
10
   Id.
11
   Id.
12
   Ex. O (Transcript of Proceedings) at 2 (“Lindsey Valenti on behalf of Joseph P. Lopinto, III, in his capacity as
sheriff of Jefferson Parish.”)
13
   Ex. H (Feb. 6, 2020 Order).
14
   Ex. I (Corr. of Counsel).
1515
     Ex. K (Corr. of Counsel).
16
   Ex. L (Motion); Ex. N (Docket Sheet).
17
   Ex. L at 3.
18
   Ex. N (Docket Sheet, reflecting service dates).
                                                           3
spoliation letter. As such, the preservation order should be denied as such obligation of

preservation is already in place.”19

        On January 14, 2021, Plaintiffs filed this lawsuit.20

        At a September 20, 2022 deposition, Defendant Vega testified that he had been subject to

disciplinary proceedings that were not reflected in documents produced in discovery. Plaintiff’s

counsel asked how this could be so. The witness explained that the discipline was “expunged”

and the records “are no longer.”21 Defendants’ counsel explained that “expunged is as if it never

happened.”22 Plaintiffs’ counsel inquired as to why these records were “expunged.” JPSO

Defendants’ counsel explained that JPSO has a practice of deleting disciplinary records after

three years.23 And Defendant’s counsel indicated that the deletion had not stopped even after the

filing of this lawsuit:

        MR. MOST:           So JPSO has not paused its document destruction practices because of
                            this lawsuit?

        MR. ZIBILICH: Oh, God, no.

        MS. VALENTI: For every person? What do you mean?

        MR. MOST:            Even for these officers who are sued in this lawsuit?

        MR. ZIBILICH: No. There is nothing special, with all due respect to these officers and
                      this lawsuit. This policy has been in place for a long time.24

Defendant’s counsel then confirmed, explicitly, that no litigation hold was put into place to his

knowledge:

        MR. MOST:           One final question before we move on. So, currently, has JPSO
                            implemented a litigation hold of document destruction for this lawsuit?

        MR. ZIBILICH: Not that I know of.25


19
   Ex. M (Opposition) at 3. Emphasis added.
20
   R. Doc. 1.
21
   Ex. F (Vega Dep.) at 62:5-6.
22
   Id. at 62:9.
23
   Id. at 68:6-9 (“[T]here are no documents beyond the three years. So the documents have not been produced
because they don't exist.”)
24
   Id. at 69:14-70:3.
25
   Id. at 72:17-22.
                                                        4
            The Sheriff’s in-house counsel, however, asserted that a litigation hold had been put into

place – but only after the lawsuit was filed.26

            On September 28, 2022, the parties held a recorded meet and confer regarding the

document destruction. At that meeting, JPSO Defendants’ counsel reported information

including the following:

            •   Upon receipt of Plaintiff’s January 25, 2020 anti-spoliation letter, JPSO took steps to
                preserve the items listed in the letter. But JPSO did not implement a full litigation
                hold until it received notice that the lawsuit had been filed.

            •   JPSO does not have a written litigation hold policy. When it implements a litigation
                hold, however, that hold stops the destruction of disciplinary records of involved
                officers.

            •   JPSO's practice is to destroy officer disciplinary records after three years, absent
                something requiring preservation like a litigation hold.

            •   JPSO's only document retention schedule submitted to the state archives is the one for
                body-worn camera footage.

            •   JPSO does not keep any records of document destruction, such as records destruction
                certificates.

            •   JPSO does not seek or receive permission from the state archives to destroy records
                (except for the BWC document retention schedule).27

            JPSO’s counsel indicated that there is no way to determine if disciplinary records for the

individual defendants in this case were destroyed, because JPSO does not keep records of

document destruction.

                                          III.    Legal Standard

A.        Louisiana’s Law of Public Record Preservation

            Louisiana law, in R.S. 44:36, places an obligation on “persons and public bodies having

custody or control of any public record” to “exercise diligence and care in preserving the public




26
     Id. at 73:6-20.
27
     Ex. C.
                                                      5
record for the period or periods of time specified by law for public records.” The statute applies to

local agencies like sheriffs’ offices.28 The statute sets a default minimum of three years retention:

         In all instances where the law does not specify a particular period, public records
         shall be preserved and maintained for a period of at least three years from the date
         on which the public record was made, except when an agency, as defined in R.S.
         44:402, has an approved retention schedule pursuant to Subsection B of this
         Section.29

         Although there is a three-year minimum, all agencies must keep “all records for the time

specified in records retention schedules developed and approved by the state archivist.”30

         To this end, R.S. 44:411(A)(1) requires that the head of every state and local agency “shall

submit to the state archivist” records retention schedules for all types of records. R.S. 44:422

requires the head of every agency to implement safeguards against the loss of public records. One

mandatory safeguard is that the head of the agency must make “it known to all officials and

employees of the agency that no records are to be alienated or destroyed except in accordance with

law and the policies, rules, and regulations developed therefrom by the state archivist and the

division, and calling their attention to the penalties provided by law for the unlawful removal or

destruction of records.”31

         Thus, it is (1) agencies like sheriffs’ offices must have records retention schedules

approved by the state archivist; and (2) records cannot be destroyed in the absence of an approved

retention schedule. This is made explicit in the regulations promulgated by the Office of the

Secretary of State, Division of Archives, which require that an “agency shall secure written




28
   “Agency,” as defined in R.S. 44:402, includes “any state, parish and municipal office, department, division, board,
bureau, commission, authority, or other separate unit of state, parish, or municipal government created or established
by the constitution, law, resolution, proclamation, or ordinance.” See Ctr. for Constitutional Rights v. St. Charles
Parish Sheriff's Office, 263 So.3d 980 (La. App. 2018) (“Pursuant to La. R.S. 44:36(C), the electronic files on those
[sheriff’s office] cameras should have been preserved for, at least, three years from the date on which the pictures
were taken.”)
29
   R.S. 44:36 (A).
30
   R.S. 44:36 (A), (B).
31
   La. R.S. 44:422(A).
                                                          6
approval from the state archivist (or his designee) prior to the disposing of any records of the

agency.”32

         The Louisiana Legislative Auditor explains this further:

         Two levels of authorization are required for the destruction of records: (1) an
         internal authorization through the agency’s internal approval process and (2) a
         formal destruction authorization from the State Archivist, pursuant to an approved
         records retention schedule, together with completion of a records destruction
         certificate. . . . Public records may not be destroyed without approval from the State
         Archivist. 33

         This was also confirmed by counsel for the Secretary of State, who explained that a

sheriff’s office is “not supposed to delete any records without the permission of the Archives.”34

         The regulations specify how agencies are to obtain destruction permission. They specify a

particular form – the SS ARC 93 – that agencies must file35 and have approved36 before destroying

any records. The regulations also require agencies to develop written litigation hold policies and

submit them to the state archives.37 And crucially, agencies “shall document the destruction of

their records by maintaining a certificate of destruction for all records requiring destruction

approval from the state archives.”38

         In short, agencies like sheriffs’ offices are required to seek permission before destroying

documents, and must keep records of any such destruction. This obligation is extremely serious:

the improper destruction of public records is a felony offense, punishable by up to “five years with

or without hard labor.”39 That statute specifically criminalizes the destruction of any record




32
   La. Admin. Code tit. 4, § XVII-901 (emphasis added). R.S. 44:405(A)(2) and 44:410 authorize the Secretary of
State, through the state archivist, to issue regulations specifically governing procedures “for the disposal of records
authorized for disposal,” and to “prescribe policies and principles to be followed by state and local governmental
agencies in the conduct of their records management programs.”
33
   Ex. E (Louisiana Legislative Auditor, “Records Retention,” Sept. 8, 2022) at 7. Emphasis added. Available online
at https://app.lla.state.la.us/llala.nsf/7D23410AB0C0773C86258114004AE9C9/$FILE/Records%20Retention.pdf
34
   Ex. D (Dec. of William Most).
35
   La. Admin. Code tit. 4, § XVII-903
36
   La. Admin. Code tit. 4, § XVII-907
37
   La. Admin. Code tit. 4, § XVII-909
38
   La. Admin. Code tit. 4, § XVII-913
39
   La. R.S. 14:132 (“Injuring public records”).
                                                           7
“required to be preserved in any public office or by any person or public officer pursuant to R.S.

44:36.”40

B.       Standard for Spoliation Sanctions

         Allegations of spoliation, including the destruction of evidence in pending or reasonably

foreseeable litigation, are addressed by federal courts through the court’s inherent power to

regulate the litigation process if (1) the conduct occurs before a case is filed; or (2) for another

reason, there is no statute or rule that adequately addresses the conduct.41 In the words of the Fifth

Circuit, “[s]poliation of evidence is among the offenses for which a court may assess sanctions

using its inherent powers.”42 Spoliation is “the ‘destruction or material alteration of evidence or

the failure to preserve property for another’s use as evidence in pending or reasonably foreseeable

litigation.’”43 To order sanctions for spoliation, the trial court must find: (1) the existence of a duty

to preserve; (2) a culpable breach of that duty; and (3) resulting prejudice to the innocent party.44

         The subjective intent of a party regarding why they destroyed records is of lesser

importance. As explained by the Second Circuit:

         It makes little difference to the party victimized by the destruction of evidence
         whether that act was done willfully or negligently. The adverse inference provides
         the necessary mechanism for restoring the evidentiary balance. The inference is
         adverse to the destroyer not because of any finding of moral culpability, but because
         the risk that the evidence would have detrimental rather than favorable should fall
         on the party responsible for its loss.45

         Thus, spoliation sanctions are appropriate where there is (1) a duty to preserve; (2) a breach

of that duty; and (3) resulting prejudice to the innocent party.



40
   Id.
41
   See Chambers v. NASCO, Inc., 501 U.S. 32, 43-46 (1991).
42
   Union Pump Co. v. Centrifugal Tech., Inc., 404 Fed. App’x 899, 905 (5th Cir. 2010) (per curiam) (citing Hodge v.
Wal-Mart Stores, Inc., 360 F.3d 446, 449 (4th Cir. 2004)) (emphasis added).
43
   Ashton v. Knight Transportation, Inc., 772 F.Supp.2d 772, 779 (N.D. Tex. 2011), (quoting Silvestri v. Gen.
Motors Corp., 271 F.3d 583, 590 (4th Cir. 2001)).
44
   Id. at 800 (collecting cases).
45
   Residential Funding Corp. v. DeGeorge Fin. Corp., 306 F.3d 99, 107 (2d Cir. 2002) (quoting Turner v. Hudson
Transit Lines, Inc., 142 F.R.D. 68, 75 (S.D.N.Y. 1991)). See also Menges v. Cliffs Drilling Co., No. 99-2159, 2000
U.S. Dist. LEXIS 8478, at *5-6 (E.D. La. June 12, 2000) (quoting Nation-Wide Check Corp. v. Forest Hills
Distribs., 692 F.2d 214, 217-18 (1st Cir. 1982)) (“[T]o restore the prejudiced party, an adverse inference ‘places the
risk of an erroneous judgment on the party that wrongfully created the risk.’”).
                                                          8
                                                IV.      Analysis

A.      Defendants had a duty to preserve disciplinary records under both federal and state
        law – and an explicit, judge-signed preservation order.
        Under federal law, a party’s duty to preserve evidence “arises when the party has notice

that the evidence is relevant to litigation.”46 “Once a party reasonably anticipates litigation, it must

suspend its routine document retention/destruction policy and put in place a ‘litigation hold’ to

ensure the preservation of relevant documents.”47

        In this case, Defendants received a letter dated January 25, 2020, that said “you can

reasonably foresee litigation regarding the death of [E.P.] on January 19, 2020, and law

enforcement’s involvement therein.”48 Defendants concede they received it.49 Thus, Defendants

had a federal-law obligation to preserve records that was triggered shortly after January 25, 2020.

        Defendants also had a duty to preserve that was triggered by an explicit court order of

January 27, 2020. That order directed that “all documents relevant or related to the death of the

minor E.P. shall be preserved and not destroyed . . . “50 JPSO’s counsel was provided a copy of

that order the same day.51

        Defendants also had a duty to preserve because on March 10, 2020, they received a motion

specifically requesting preservation of all “disciplinary, complaint, investigative and personnel

files of all officers and supervisors of Jefferson Parish Sheriff’s Office involved in this incident.”52

In opposing that motion, JPSO acknowledged that an “obligation of preservation is already in

place.”53


46
   Connelly v. Veteran’s Adminsitration Hospital, 12-cv-02660-NJB-KWR, Rec. Doc. 48 at *8 (E.D. La., May 15,
2014); see also Consol. Aluminum Corp. v. Alcoa, Inc., 244 F.R.D. 335, 339 (M.D. La. 2006) (A party’s duty to
preserve “arises when the party has notice that the evidence is relevant to litigation or when a party should have
known that the evidence may be relevant to future litigation.”)
47
   Zubulake v. UBS Warburg LLC, 220 F.R.D. 212 (S.D.N.Y.2003); Toth v. Calcasieu Parish, 2009 U.S. Dist.
LEXIS 16116, at *1 (W.D. La. Mar. 6, 2009) (citing Zubulake v. UBS Warburg, LLC, 220 F.R.D. 212, 216
(S.D.N.Y. 2003)).
48
   Ex. B.
49
   Ex. M at 3 (acknowledging “receipt of the anti-spoliation letter”).
50
   Ex. H (Feb. 6, 2020 Order).
51
   Ex. I (Corr. of Counsel).
52
   Ex. L at 3.
53
   Ex. M at 3.
                                                         9
         And finally, Defendants also had a background state-law obligation to preserve disciplinary

records. Per R.S. 44:36 and its implementing regulations, a sheriff’s office “shall secure written

approval from the state archivist (or his designee) prior to the disposing of any records of the

agency.”54 Counsel for the Louisiana Secretary of State confirmed this, explaining that agencies

are “not supposed to delete any records without the permission of the Archives.”55

         Here, JPSO has no records retention schedule for disciplinary records, and has never sought

the state archivist’s permission to destroy records. Accordingly, it should not be destroying any

disciplinary records at any time – and especially not when it has also received an anti-spoliation

letter, received an explicit court order, received multiple motions to preserve records, and

represented to a judge that the “obligation of preservation is already in place.”

C.       Defendants breached their duty to preserve by continuing to destroy disciplinary
         records.

         Defendants breached their duty to preserve records. They did not follow state law in

seeking state archives permission before destroying records.56 They did not implement a litigation

hold to preserve disciplinary records upon receiving Plaintiff’s anti-spoliation letter.57 They did

not implement a litigation hold to preserve disciplinary records after receiving the judge-signed

preservation order.58 They did not implement a litigation hold after receiving a motion specifically

requesting preservation of disciplinary records.59 They did not even implement a litigation hold

when they argued to a court that “the preservation order should be denied as such obligation of

preservation is already in place.”60




54
   La. Admin. Code tit. 4, § XVII-901 (emphasis added). R.S. 44:405(A)(2) and 44:410 authorize the Secretary of
State, through the state archivist, to issue regulations specifically governing procedures “for the disposal of records
authorized for disposal,” and to “prescribe policies and principles to be followed by state and local governmental
agencies in the conduct of their records management programs.”
55
   Ex. D (Dec. of William Most.)
56
   Ex. C.
57
   Id.
58
   Id.
59
   Ex. L
60
   Ex. M (Opposition) at 3. Emphasis added.
                                                           10
        Thus, despite receiving a 29th JDC court order to preserve records, JPSO continued to

destroy them. And although JPSO represented to a judge that the “obligation of preservation is

already in place,” JPSO continued to destroy disciplinary records of its officers.

        It is unknown how many such documents were destroyed, because JPSO does not keep

records of document destruction – in violation of state regulations.61 But it is known that some

Defendants’ disciplinary records have been destroyed. Defendant Vega, for example, testified that

he had “courtesy complaints that [JPSO’s] Internal Affairs handles” but that they were “expunged”

and “are no longer.”62

D.      Defendants’ breach has prejudiced Plaintiffs because JPSO destroyed evidence
        relevant to Plaintiffs’ claims – and then instructed witnesses not to answer questions
        about the destroyed evidence.

        The rule on spoliation sanctions “does not place a burden of proving or disproving

prejudice on one party or the other . . . and placing the burden of proving prejudice on the party

that did not lose the information may be unfair.”63 Instead, the Court retains “discretion to

determine how best to assess prejudice in particular cases.”64 Ultimately, because the essence of

spoliation is the loss of evidence which cannot be later reviewed, a party moving for relief under

Rule 37(e)(1) “need not establish that a smoking gun email . . . was irretrievably destroyed. It is

sufficient if the existing evidence plausibly ‘suggests’ that the spoliated [information] could

support the moving party’s case.”65

        In this case, Plaintiffs sought discovery of Defendants’ disciplinary history for several

reasons. First, because they have a claim against Sheriff Lopinto for the failure “to properly

supervise, discipline or otherwise hold accountable deputies who failed to comply with the law.”66



61
   La. Admin. Code tit. 4, § XVII-913 (agencies “shall document the destruction of their records by maintaining a
certificate of destruction for all records requiring destruction approval from the state archives.”).
62
   Ex. F at 13:20-14:2; 62:5-6.
63
   Fed. R. Civ. P. 37(e)(1), advisory committee’s note to 2015 amendment.
64
   Id.
65
   Karsch v. Blink Heallth Ltd., 17-CV3880, 2019 WL 2708125 at *21 (S.D.N.Y. June 20, 2019) (internal citations
omitted).
66
   R. Doc. 1 at ¶ 305.
                                                        11
And second, because Defendants’ disciplinary history may show individual officers’ history of

excessive restraint or force, or episodes casting doubt on credibility. That disciplinary history,

however, is unavailable to Plaintiffs because JPSO has destroyed it.

           During the parties’ meet and confer, Defendants’ counsel argued that any destruction of

disciplinary documents is without prejudice because Plaintiffs have had the opportunity to ask the

individual officers about their disciplinary histories at deposition. That is false, because

Defendants’ counsel instructed a witness not to answer such questions:




                                                                                     67


           Plaintiffs have thus been prejudiced because JPSO’s counsel has destroyed Defendants’

disciplinary records and then instructed witnesses not to answer questions about the destroyed

records.



67
     Ex. F at 64:1-19.
                                                 12
         Furthermore, JPSO only has a policy of destroying negative information in its officers’

personnel files. It preserves positive information like commendations for at least a decade or more.

See Ex. G (2009 commendation letter for Defendant Chad Pitfield). As a result, Plaintiffs are

prejudiced because the evidence available to them is completely slanted – there are decades of

positive records about the individual Defendants, but only limited negative information.

E.       Because Defendants destroyed evidence despite state law, federal law, and a court
         order, and because that destruction prejudiced Plaintiffs, this Court should order
         appropriate remedies.

         This Court has held that when evidence is “intentionally destroyed,” an adverse inference

is the “preferred sanction.”68 This adverse inference rule “derives from the common sense notion

that a party’s destruction of evidence which it has reason to believe may be used against it in

litigation suggests that the evidence was harmful to the party responsible for its destruction.”69

Accordingly, to restore the prejudiced party, an adverse inference “plac[es] the risk of an

erroneous judgment on the party that wrongfully created the risk.”70

         Here, Plaintiffs ask this Court to apply the sanctions it deems appropriate given

Defendants’ conduct. Plaintiffs suggest the following:

     1. That Defendants be prohibited from putting on any positive evidence at trial from their
        personnel file;

     2. That the jury be instructed that Defendant Joseph Lopinto, in his official capacity,
        destroyed evidence despite having a legal obligation to preserve it, and despite being
        ordered by a court to preserve it.

     3. That the jury be instructed that Defendant Joseph Lopinto, in his official capacity, has a
        practice of preserving positive information about officers but illegally destroying negative
        information about officers.

     4. That the jury be instructed that they can draw an adverse inference against Defendant
        Joseph Lopinto, in his official capacity, due to the destruction of evidence.


68
   Connelly v. Veteran’s Adminsitration Hospital, 12-cv-02660-NJB-KWR, Rec. Doc. 48 at *8 (E.D. La., May 15,
2014), citing Vodusek v. Bayline Marine Corp., 71 F.3d 148, 155–56 (4th Cir. 1995); Schmid v. Milwaukee Elec.
Tool Corp., 13 F.3d 76, 78 (3rd Cir. 1994) (reviewing the historical development of the spoilation of evidence
doctrine).
69
   Connelly, supra, citing Kronisch v. United States, 150 F.3d 112, 126 (2d Cir. 1998), cert. denied, 531 U.S. 1078
(2001).
70
   Id.
                                                         13
     5. Reasonable attorneys fees for this motion.

V.      Conclusion

        Because Defendants destroyed disciplinary records in the face of an anti-spoliation letter,

an explicit court order, an acknowledged duty to preserve, and the background duty of

preservation under state law, Defendants committed spoliation. Plaintiff’s motion should be

granted.

                                              RESPECTFULLY SUBMITTED,

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